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Claimant:            Trish Ann Fontana
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Claimant-supplied Evidence (CLMTEVID), dated 06/09/2015, from Dr.                         33             1
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1A           Disability Determination Explanation - Title II - Physical RFC             61-70           10
             Paul Fox, MD, dated 07/09/2013
2A           Disability Determination Transmittal - Title II - PTTYPE -                     71           1
             7160/7240, dated 07/09/2013
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3B           Appointment of Representative - Lawrence E Bolind, Jr.,                       79            1
             Esquire, dated 09/16/2013
4B           Request For Hearing Acknowledgement Letter, dated                          80-89           10
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5B           Outgoing ODAR Correspondence - Letter to REP w/                           90-100           11
             Questionnaires/Barcodes, dated 03/29/2014
6B           Hearing Notice, dated 09/30/2014                                        101-126            26
7B           Acknowledge Notice of Hearing/Will be present, dated                    127-128             2
             09/30/2014
8B           Resume of Vocational Expert Samuel E. Edelmann, M.Ed.,                  129-130             2
             dated 11/14/2014
9B           Notice Of Hearing Reminder, dated 11/19/2014                            131-136             6
10B          Request for Review of Hearing Decision/Order, dated                     137-139             3
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1D           New Hire, Quarter Wage, Unemployment Query (NDNH),                      140-141             2
             dated 03/29/2014
2D           Certified Earnings Records - ICERS - DLI: 3/31/2015, dated              142-143             2
             03/29/2014
3D           Summary Earnings Query, dated 03/29/2014                                    144             1
4D           Detailed Earnings Query, dated 03/29/2014                               145-148             4
5D           Certified Earnings Records, dated 10/27/2014                            149-151             3


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1E           Disability Report - Field Office, dated 04/18/2013, from                152-154             3
             Interviewer
2E           Disability Report - Adult, dated 04/18/2013                             155-162             8
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4E           DDS Disability Worksheet, dated 04/19/2013                              173-178             6
5E           Work History Report, dated 04/24/2013, from Claimant                    179-189            11
6E           Function Report - Adult - w/ Supplemental Function                      190-200            11
             Questionnaire, dated 04/30/2013, from Claimant
7E           Copy of Case Development Claimant Correspondence, dated                 201-204             4
             2013-06-11 to 05/29/2013, from Claimant
8E           Disability Report - Field Office, dated 09/16/2013                      205-206             2
9E           Disability Report - Appeals, dated 09/16/2013                           207-212             6
10E          Report of Contact, dated 11/13/2013, from DO #A34                           213             1
1F           Radiology Report, dated 03/08/2010 to 10/29/2010, from                  214-220             7
             JRMC Diagnostic Services
2F           Office Treatment Records, dated 03/08/2010 to 10/29/2010,               221-226             6
             from JRMC Diagnostic Services Brentwood-David Mance,
             DPM
3F           Office Treatment Records, dated 01/18/2010 to 03/24/2011,               227-271            45
             from David J. Mance, DPM-JRMC Diagnostic Services
             Brentwood
4F           Physical/Occupational Therapy Records, dated 10/27/2011 to              272-278             7
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5F           Emergency Department Records, dated 04/07/2010 to                       279-318            40
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6F           Emergency Department Records, dated 11/12/2011 to                       319-328            10
             04/17/2013, from UPMC MERCY
7F           Unsuccessful Development Attempt to Secure Medical-There                329-334             6
             are No Dates of Service, dated 04/23/2013, from WEIDNER,
             GREGG
8F           Office Treatment Records, dated 06/27/2011 to 04/24/2013,               335-345            11
             from Jory D. Richman, MD
9F           Unsuccessful Development Attempt to Secure Medical-There                346-351             6
             are No Dates of Service, dated 05/15/2013, from WEIDNER,
             GREGG G
10F          CE Acknowledgement, dated 2013-06-11 to 06/11/2013, from                352-353             2
             AMCE PHYSICIANS GROUP
11F          Consultative Examination Report, dated 2013-06-11 to                    354-360             7
             06/11/2013, from Robert Hoffman, MD
12F          Outpatient Hospital Records, dated 04/22/2014 to                        361-400            40
             10/15/2014, from UPMC Mercy

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